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May 21, 2021


VIA ECF


The Honorable J. Paul Oetken
United States District Judge
Southern District of New York
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

RE: In re Search Warrant dated April 28, 2021, 21 Mag. 4591r (21 MC 00425)

Dear Judge Oetken:

        Victoria Toensing, by and through counsel, respectfully requests argument on the issues raised by
Ms. Toensing’s May 12, 2021 Letter to this Court and The Government’s Reply in Support of its Request
for a Special Master and Opposition to the Motions for Rudolph Giuliani and Victoria Toensing.

         Undersigned counsel has conferred with the Government which does not object to this request.


Respectfully Submitted,
BROWN RUDNICK LLP




Michael J. Bowe


Cc: Audrey Strauss, Esq. (United States Attorney for the Southern District of New York)
    Rebekah Donaleski, Esq. (Assistant United States Attorney)
    Nicolas Roos, Esq. (Assistant United States Attorney)
    Aline Flodr, Esq. (Assistant United States Attorney)
